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                         UNITED STATES DISTRICT COURT
                            Northern District of California

                                        CIVIL MINUTES



 Date:        July 21, 2020                          Judge:    JON S. TIGAR
 Time:        9 minutes

 Case No.        19-cv-07966-JST
 Case Name       Abante Rooter and Plumbing Inc v. Unlocked Business Strategies, Inc., et al.

 Attorney(s) for Plaintiff(s):     Taylor T. Smith
 Attorney(s) for Defendant(s):     No Appearance

 Deputy Clerk:     Kelly Collins                     Court Reporter:   Not reported


                                          PROCEEDINGS

Initial Case Management Conference – HELD.


                                       RESULT OF HEARING

   1. Hearing held via Zoom webinar
   2. Discussion with counsel regarding whether service was adequate on defendants. Court will
      review Rule 4 to see if requirements have been met for proper service in this case.
   3. Plaintiff plans to file a motion for class certification. Counsel directed to review C-12-3003-
      JST Clancy v. The Bromley Tea Co., et al.
   4. Further case management conference set for 10/27/2020 at 2:00 p.m. Case management
      statement due by 10/20/2020.
